                   Case 16-51014-MFW          Doc 83      Filed 04/13/17     Page 1 of 7



                          IN THE UNITED SATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

     In re:                                                     Chapter 11
     SPORTS AUTHORITY HOLDINGS, INC., et al
                      Debtors.                                  Case No. 16-10527 (MFW)
                                                                Jointly Administered
     O2COOL, LLC, a Delaware limited liability company,
                                      Plaintiff,                Adv. Proc. No. 16-51014 (MFW)
     v.
                                                                Ref. Docket No. 70
     TSA STORES, INC., et al.
                                           Defendants.

                  SUPPLEMENT TO DECLARATION OF RONALD M. MAROTTA
     I, Ronald M. Marotta, hereby declare the following to be true under the penalties of perjury:
             1.     I submit this Supplement to my Declaration in support of the Joint Motion for

     Summary Judgment filed by defendants TSA Stores, Inc. (“TSA”) and Yusen Logistics

     (Americas), Inc. (“Yusen”) [Adv. Proc. Docket No. 70]. 1

             2.     Attached as Exhibit A are (i) the O2Cool Shipping Documents in connection with

     another shipment of Sold Goods (the “Additional Shipment”) that was not included in Exhibit 1

     to the Declaration, (ii) the Forwarder’s Cargo Receipt in connection with the Additional

     Shipment that was not included in Exhibit 2 to the Declaration, and (iii) the Carrier Waybill in

     connection with the Additional Shipment that was not included in Exhibit 3 to the Declaration.

     The Additional Shipment was not listed in the report attached as Exhibit 4 to the Declaration

     because when the report was generated, the Additional Shipment was no longer outstanding and

     had already been delivered to TSA.


     Dated: Secaucus, New Jersey                         /s/ Ronald M. Marotta
     April 13, 2017                                      Ronald M. Marotta


     1
      Capitalized terms used and not defined herein shall have the same meaning ascribed in the
     Declaration.
3.   01:21
             Case 16-51014-MFW     Doc 83    Filed 04/13/17   Page 2 of 7



                                    EXHIBIT A

                                 Additional Shipment




3.   01:21
Case 16-51014-MFW   Doc 83   Filed 04/13/17   Page 3 of 7
Case 16-51014-MFW   Doc 83   Filed 04/13/17   Page 4 of 7
                           Case 16-51014-MFW          Doc 83       Filed 04/13/17        Page 5 of 7


                                                                                                                                     O

                       *TSA-SZP-1600037*
                                  FORWARDER'S CARGO RECEIPT No.           TSA-SZP-1600037

                                                                                                     Maker/Supplier's INVOICE No.
Maker/Supplier :     O2COOL,LLC                                                                      O2C-16-00070
                                                                                                     Dated:
Buyer/Consignee :    TSA STORES, INC.                                                                January 14, 2016
                     1050 W HAMPDEN AVE. ENGLEWOOD,CO 80110 USA
                                                                                                     Date of Receipt of Cargo
Shipment From :      YANTIAN,CHINA            To : FONTANA, CA
                                                                                                     January 13, 2016

Marks & Nos.                          Nos. of P'kgs    Supplier's description of goods      Measurement (cbm.)          Weight (kgs.)

TSA STORES, INC.                               NOTIFY PARTY: YUSEN LOGISTICS (AMERICAS) INC.
P.O.#315815                                                  19001 HARBORGATE WAY
MODEL#                                                       TORRANCE, CA. 90501
SKU#                                                         (310)782-0095 PH (310)782-7998 FX
DESCRIPTION:                                                 YUSLA-TSA@US.YUSEN-LOGISTICS.COM
CARTON NO.:                                    CY-CY
N.W. KGS      G.W.  KGS
CBM:                                           CUSTOMER PO#315815
CARTON MEASUREMENT:                            20OZ INSULATED ARCTICSQUEEZE MNS
IN                                              SHIPPER'S LOAD AND COUNT
TRACKING#                                      ECMU4536719            SEAL# F2662263            40' DRY
VENDOR#024362                                   SHIPPER DECLARED ALL ITEM(S) CONTAIN NO WOOD PACKAGING
                                               MATERIAL.VENDOR DECLARED NO WOOD PACKAGING MATERIALS




                                            2,784 CARTONS                       52.896 CBM      4,899 KGS
                                            ==============================================================
                                            TOTAL : TWO THOUSAND SEVEN HUNDRED EIGHTY-FOUR (2,784) CARTONS
                                            ONLY

                              "FREIGHT COLLECT"
SHIPMENT PER S.S. "CMA CGM COLUMBA" VOY NO. 067TXE
SAILING ON/ABT January 21, 2016. CARGO RECEIVED ON January 13, 2016.                         DOCUMENT RECEIVED ON
January 19, 2016.

                   THIS IS NOT A DOCUMENT OF TITLE
                                                                    SHENZHEN                                   January 21, 2016

                      Non-Negotiable                                                     (Place and date of issue.)

                                                                           YUSEN LOGISTICS (HONG KONG) LIMITED
                              Copy



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Case 16-51014-MFW   Doc 83   Filed 04/13/17   Page 6 of 7
Case 16-51014-MFW   Doc 83   Filed 04/13/17   Page 7 of 7
